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                                       United States District Court
                                      Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             SA CR 15-0080-DOC-2

 Defendant            STEVEN WOODS                                           Social Security No. 8          3     8     2
 akas: Woods, Steven Earl (true name)                                        (Last 4 digits)

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH    DAY    YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.         02       12     2018

 COUNSEL                                                                Marri B. Derby, CJA
                                                                             (Name of Counsel)

     PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                 NOT
                                                                                                                CONTENDERE             GUILTY
                      There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
  FINDING
                      Count 3, 18 U.S.C. §§ 1343: Wire Fraud of the nine-count Indictment. All remaining counts are
                      DISMISSED by motion of the Government.

JUDGMENT              The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/             contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM                that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to
  ORDER               the custody of the Bureau of Prisons to be imprisoned for a term of:

        It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25 per
quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

         It is ordered that the defendant shall pay restitution in the total amount of $1,080,000 pursuant to 18 U.S.C. §
3663A.

         Defendant shall pay restitution in the total amount of $1,080,000. to victims as set forth in a separate victim list
prepared by the probation office which this Court adopts and which reflects the Court's determination of the amount of
restitution due to each victim. The victim list, which shall be forwarded to the fiscal section of the clerk's office, shall
remain confidential to protect the privacy interests of the victims.

        Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant
to the Bureau of Prisons' Inmate Financial Responsibility Program. If any amount of the restitution remains unpaid after
release from custody, nominal monthly payments of at least 10% of defendant's gross monthly income but not less than
$100, whichever is greater, shall be made during the period of supervised release and shall begin 30 days after the
commencement of supervision. Nominal restitution payments are ordered as the Court finds that the defendant's economic
circumstances do not allow for either immediate or future payment of the amount ordered.

       If the defendant makes a partial payment, each payee shall receive approximately proportional payment unless
another priority order or percentage payment is specified in the judgment.


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         The defendant shall be held jointly and severally liable with convicted codefendants Francis Edward Wilde, Mark
Gelazela, and Bruce Haglund for the full amount of restitution ordered in this judgment. The victims’ recovery is limited
to the amount of their loss and the defendant’s liability for restitution ceases if and when the victim receives full
restitution.

       Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does
not have the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18
U.S.C. § 3612(g).

        Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that
he is unable to pay and is not likely to become able to pay any fine in addition to restitution.

        Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Steven Woods,
is hereby committed on Count 3 of the Nine-Count Indictment to the custody of the Bureau of Prisons for a term of 1
year and 1 day.

       Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three years
under the following terms and conditions:

    1. The defendant shall comply with the rules and regulations of the United States Probation Office and General
       Order 05-02.

    2. As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release
       authorizing credit report inquiries; (2) federal and state income tax returns or a signed release authorizing their
       disclosure; and (3) an accurate financial statement, with supporting documentation as to all assets, income and
       expenses of the defendant. In addition, the defendant shall not apply for any loan or open any line of credit without
       prior approval of the Probation Officer.

    3. The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or
       other pecuniary proceeds shall be deposited into this account, which shall be used for payment of all personal
       expenses. Records of all other bank accounts, including any business accounts, shall be disclosed to the Probation
       Officer upon request.

    4. The defendant shall not transfer, sell, give away or otherwise convey any asset with a fair market value in excess
       of $500 without approval of the Probation Officer until all financial obligations imposed by the Court have been
       satisfied in full.

    5. During the period of community supervision, the defendant shall pay the special assessment and restitution in
       accordance with this judgment's orders pertaining to such payment.

    6. The defendant shall not be employed in any capacity wherein he has custody, control or management of the funds
       of an investor, employee, or employer.

    7. The defendant shall not engage, as whole or partial owner, employee or otherwise, in any business involving
       investment programs of any kind, loan programs, telemarketing activities, or any other business involving the
       solicitation of funds or cold-calls to customers without the express approval of the Probation Officer prior to
       engaging in such employment. Further, the defendant shall provide the Probation Officer with access to any and
       all business records, client lists, and other records pertaining to the operation of any business owned, in whole or
       in part, by the defendant, as directed by the Probation Officer.

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    8. The defendant shall not be employed in any position that requires licensing and/or certification by any local, state
       or federal agency without prior approval of the Probation Officer.

    9. The defendant shall cooperate in the collection of a DNA sample from the defendant.

    10. The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance, judgments
        and any anticipated or unexpected financial gains to the outstanding Court-ordered financial obligation.

    11. The defendant shall report to the United States Probation Office within 72 hours of his release from custody.

    12. The defendant shall not possess, have under his control, or have access to any firearm, explosive device, or other
        dangerous weapon, as defined by federal, state, or local law.

    13. The defendant shall submit his person, property, house, residence, vehicle, papers, computers [as defined in 18
        U.S.C. § 1030(e)(1)], cell phones, other electronic communications or data storage devices or media, office, or
        other areas under the defendant’s control to a search conducted by a United States Probation Officer or law
        enforcement officer. Failure to submit to a search may be grounds for revocation. The defendant shall warn any
        other occupants that the premises may be subject to searches pursuant to this condition. Any search pursuant to
        this condition will be conducted at a reasonable time and in a reasonable manner upon reasonable suspicion that
        the defendant has violated a condition of his supervision and that the areas to be searched contain evidence of this
        violation.

       The drug testing condition mandated by statute is suspended based on the Court's determination that the defendant
poses a low risk of future substance abuse.

        It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons at
or before 12 noon, on April 30, 2018. In the absence of such designation, the defendant shall report on or before the same
date and time, to the United States Marshal located at the United States Courthouse, 411 West Fourth Street, Santa Ana,
California 92701-4516 or, alternatively, at the direction of Court, to the United States Courthouse, 222 North John Q.
Hammons Parkway, Springfield, Missouri 65806-2515.

         Defendant advised of right to appeal.

         The Court recommends a facility in Missouri due to close family ties.

         Defendant’s bond is exonerated upon surrender.




 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions
 of Probation and Supervised Release within this judgment be imposed. The Court may change the conditions of
 supervision, reduce or extend the period of supervision, and at any time during the supervision period or within the
 maximum period permitted by law, may issue a warrant and revoke supervision for a violation occurring during the
 supervision period.




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            February 12, 2018
            Date                                                            DAVID O. CARTER, U. S. District Judge
 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or
 other qualified officer.

                                                                            Clerk, U.S. District Court




            February 12, 2018                                       By Deborah Lewman
            Filed Date                                                 Deputy Clerk



 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                       STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                       While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant shall not commit another Federal, state or local crime;       10.   the defendant shall not associate with any persons engaged in
 2.    the defendant shall not leave the judicial district without the written             criminal activity, and shall not associate with any person convicted
         permission of the court or probation officer;                                     of a felony unless granted permission to do so by the probation
 3.    the defendant shall report to the probation officer as directed by the              officer;
         court or probation officer and shall submit a truthful and complete       11.   the defendant shall permit a probation officer to visit him or her at
         written report within the first five days of each month;                          any time at home or elsewhere and shall permit confiscation of any
 4.    the defendant shall answer truthfully all inquiries by the probation                contraband observed in plain view by the probation officer;
         officer and follow the instructions of the probation officer;             12.   the defendant shall notify the probation officer within 72 hours of
 5.    the defendant shall support his or her dependents and meet other                    being arrested or questioned by a law enforcement officer;
         family responsibilities;                                                  13.   the defendant shall not enter into any agreement to act as an informer
 6.    the defendant shall work regularly at a lawful occupation unless                    or a special agent of a law enforcement agency without the
         excused by the probation officer for schooling, training, or other                permission of the court;
         acceptable reasons;                                                       14.   as directed by the probation officer, the defendant shall notify third
 7.    the defendant shall notify the probation officer at least 10 days prior             parties of risks that may be occasioned by the defendant’s criminal
         to any change in residence or employment;                                         record or personal history or characteristics, and shall permit the
 8.    the defendant shall refrain from excessive use of alcohol and shall                 probation officer to make such notifications and to conform the
         not purchase, possess, use, distribute, or administer any narcotic or             defendant’s compliance with such notification requirement;
         other controlled substance, or any paraphernalia related to such          15.   the defendant shall, upon release from any period of custody, report
         substances, except as prescribed by a physician;                                  to the probation officer within 72 hours;
 9.    the defendant shall not frequent places where controlled substances         16.   and, for felony cases only: not possess a firearm, destructive device,
         are illegally sold, used, distributed or administered;                            or any other dangerous weapon.




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      The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be
 subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are
 not applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

          The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in
 the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18
 U.S.C. §3563(a)(7).

           Payments shall be applied in the following order:

                      1. Special assessments pursuant to 18 U.S.C. §3013;
                      2. Restitution, in this sequence (pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                      5. Other penalties and costs.

                                SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

          The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
 proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts,
 including any business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal




                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date



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